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                                                               Sunday, 16 December, 2018 04:34:18 PM
                                                                          Clerk, U.S. District Court, ILCD


                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
vs.                                         )       Crim. No. 17-20037
                                            )
BRENDT A. CHRISTENSEN,                      )       Hearing Requested
                                            )
       Defendant.                           )

        EMERGENCY MOTION FOR EVIDENTIARY HEARING REGARDING
         SEARCH OF DEFENDANT’S CELL AT LIVINGSTON COUNTY JAIL

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Emergency Motion for an Evidentiary Hearing Regarding the

Search of the Defendant’s Cell at the Livingston County Jail on Friday, December 14,

2018, states as follows:

       1. On Friday, December 14, 2018, the parties convened before the Honorable

Judge James E. Shadid at the Federal Courthouse in Peoria, Illinois, to conduct a

previously scheduled day of hearings relating to several pretrial motions that were filed

by the Defendant. (R. 114, 117, 161, 162)

       2. When the hearings concluded, counsel for Mr. Christensen received the

following information:

              a. While the parties (and Mr. Christensen) were in court, agents of the

                    Federal Bureau of Investigation (FBI) presented themselves at the

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        Livingston County Jail, without prior notice and without a search

        warrant, and asked to examine Mr. Christensen’s living space;

     b. Mr. Christensen’s personal belongings were examined and upon his

        return to the Jail on the afternoon of December 14, 2018, his personal

        property had clearly been disturbed, although it is not immediately

        apparent whether any items were confiscated;

     c. The FBI agents who presented themselves at the Jail interviewed

        multiple individuals who are currently housed with Mr. Christensen;

     d. On information and belief, the FBI entered the cell block through the

        fire door and carried in camera equipment;

     e. During the pendency of the examination, a Livingston County Jail

        Officer was present in the cell block, but he/she has not been

        interviewed nor identified as of this filing;

     f. The Livingston County Jail Administrator, Stuart Inman, was present

        for a brief time in the cell block with the FBI agents, and indicated that

        he would not permit the agents to remove items without a search

        warrant; however, he did not remain in the cell block for more than a

        few minutes;

     g. It is unknown whether the agents viewed, took photographs, or in any

        other way documented or examined Mr. Christensen’s personal

        belongings.

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       3. As referenced in previous pleadings filed by Mr. Christensen, a defendant

who is being housed in pretrial detention does not lose his Fourth Amendment rights

entirely. In United States v. Cohen, 796 F.2d 20, 23 (2d Cir. 1986), the court noted that

prior decisions relating to privacy interest of inmates had concluded that the fact of

confinement and the legitimate objectives of penal institutions curtail the constitutional

rights of prisoners, whether convicted or not. (Citing Bell v. Wolfish, 441 U.S. 520, 546

(1979)). However, the Supreme Court had never condoned a cell search “intended

solely to bolster the prosecution's case against a pre-trial detainee awaiting his day in

court; it did not have before it the issue of whether such a search could lawfully be used

by government prosecutors to uncover information that would aid them in laying

additional indictments against a detainee.” Id. (citing Hudson v. Palmer, 468 U.S. 517

(1984)). Rather, the loss of privacy extends only to prison officials who are concerned

with the safety of the inmates and the facility. Id.

       4. Where it is plain that no institutional need is being served, a warrantless

search of a pretrial detainee’s cell by the prosecution or its agents solely to obtain

information “falls well outside the rationale of the decided cases.” Id. at 24. Though

diminished in scope, a pretrial detainee retains rights under the Fourth Amendment to

challenge a warrantless search. Id. This reading of the law has been followed by various

others courts. See, e.g., United States v. Stanishia, 2015 WL 13345329 * 2 (M.D. Pa.)

(holding that a search of a convicted prisoner’s belongings by prison officials does not

violate the Fourth Amendment, distinguishing Cohen because the defendant in that case

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was detained pretrial and had not yet been convicted; United States v. Vernon, 262 Fed.

Appx. 157, 158 (11th Cir. 2008) (holding that confiscation of pretrial detainee’s notebook

was proper where it was first noticed by correctional staff as a violation of the jail’s

rules); United States v. Colbert, 1990 WL 5200 *3 (D. N. J.) (upholding search of pretrial

detainee’s cell after the search was deemed to have been initiated by the officer in

charge of internal investigations within the jail and not by the U.S. Postal Inspector).

       5. In the present case, information obtained by the defense tends to show that

the search of Mr. Christensen’s cell was initiated by the FBI and not by the staff at the

Livingston County Jail, who had no prior notice that an inspection was going to occur.

Because a pretrial detainee has a privacy interest in their cell and personal belongings

that extends to law enforcement and prosecutors where no search was conducted

and/or initiated by jail staff, the Fourth Amendment is implicated. Based on the

foregoing, the defense requests an evidentiary hearing to further explore these issues, a

prohibition on further law-enforcement initiated searches of Mr. Christensen’s personal

property, and any other remedy that may be appropriate, including, but not limited to,

suppression of whatever items were removed, copied, photographed, or otherwise

preserved for use against Mr. Christensen at trial.

       6. Additionally, the actions taken by the FBI on December 14, 2018, implicate

serious Sixth Amendment concerns. Mr. Christensen is in possession of correspondence,

notes, and other items that clearly qualify as privileged material and that document his

communications with counsel and case strategy. The Sixth Amendment provides that

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an accused shall enjoy the right “to have the Assistance of Counsel for his defense.”

This right, fundamental to our system of justice, is meant to assure fairness in the

adversary criminal process. United States v. Morrison, 449 U.S. 361, 364 (1981) (quoting

Gideon v. Wainwright, 372 U.S. 335, 344, (1963)). “Cases involving Sixth Amendment

deprivations are subject to the general rule that remedies should be tailored to the

injury suffered from the constitutional violation and should not unnecessarily infringe

on competing interests.” Id. Before determining a remedy for the wrong, a court must

“identify and then neutralize the taint by tailoring relief appropriate in the

circumstances to assure the defendant the effective assistance of counsel and a fair

trial.” Id. at 365.

        7. The Supreme Court has identified four factors relevant to a Sixth Amendment

inquiry: “1) whether the [intrusion] was purposely caused by the government in order

to garner confidential, privileged information, or whether the [intrusion] was the result

of other inadvertent occurrences; 2) whether the government obtained, directly or

indirectly, any evidence which was used at trial as the result of the . . . intrusion; 3)

whether any information gained by the . . . intrusion was used in any other manner to

the substantial detriment of the defendant; and 4) whether the details about trial

preparations were learned by the government.” United States v. Robinson, 96 F.3d 1449,

1996 WL 506498 *11 (6th Cir.) (citing Weatherford v. Bursey, 429 US 545 (1977)). To date,

the defense cannot answer any of the questions posed by Weatherford without an

evidentiary hearing.

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       8. Due to the actions of the FBI on December 14, 2018, and because there is an

apparent risk that further searches of Mr. Christensen’s cell and personal belongings

will be conducted whenever he is in court, the defense requests an emergency hearing

to address these matters which should minimally include:

              a. The testimony of the FBI agents who conducted the search on

                 December 14, 2018, whose identities are unknown as of this filing;

              b. The testimony of the Livingston County Jail employees who observed

                 the FBI’s conduct on December 14, 2018, whose identities are unknown

                 as of this filing; and

              c. The production of all fruits of the search, including but not limited to

                 the FBI agent’s notes, photographs taken, writings taken, copies made,

                 and information obtained as a result of the search.

       9. Additionally, there are video surveillance cameras in each of the cell blocks

which will have footage of the agents’ inspection. Mr. Christensen requests that said

video footage be preserved and presented to this Court at the hearing on this matter.

       WHEREFORE, the Defendant requests that this Court order the immediate

cessation of any such activities referenced herein until the resolution of these issues,

exclude any evidence and the fruits thereof that was obtained in violation of the Fourth

Amendment, and enter any other order that is appropriate to remedy any Sixth

Amendment violation following the evidentiary hearing.



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             Respectfully submitted,

             /s/Elisabeth R. Pollock                   /s/ George Taseff
             Assistant Federal Defender                Assistant Federal Defender
             300 West Main Street                      401 Main Street, Suite 1500
             Urbana, IL 61801                          Peoria, IL 61602
             Phone: 217-373-0666                       Phone: 309-671-7891
             FAX: 217-373-0667                         Fax: 309-671-7898
             Email: Elisabeth_Pollock@fd.org           Email: George_Taseff@fd.org

             /s/ Robert Tucker                         /s/ Julie Brain
             Robert L. Tucker, Esq.                    Julie Brain, Esq.
             7114 Washington Ave                       916 South 2nd Street
             St. Louis, MO 63130                       Philadelphia, PA 19147
             Phone: 703-527-1622                       Phone: 267-639-0417
             Email: roberttuckerlaw@gmail.com          Email: juliebrain1@yahoo.com




                              CERTIFICATE OF SERVICE

      I hereby certify that on December 16, 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller

and Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




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